                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )       NO. 3:11-00194
                                                     )       JUDGE CAMPBELL
STERLING RIVERS                                      )

                                             ORDER

       The hearing scheduled on May 16, 2013, at 9:00 a.m. will go no later than 1:30 p.m. that day.

If additional time is needed, the hearing will continue on May 17, 2013, at 1:30 p.m.

       It is so ORDERED.

                                                     ____________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




Case 3:11-cr-00194        Document 1273        Filed 05/06/13      Page 1 of 1 PageID #: 6243
